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                       EXHIBIT A
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         IN THE UNITED STATES BANKRUPTCY COURT
              FOR THE DISTRICT OF DELAWARE

                In Re: Nortel Networks Inc., et al.

                     Case No. 09-10138 (KG)




REPORT OF PAUL WERTHEIM, Ph.D., CPA, CMA, CFM, CFE
             NERA Economic Consulting

                        October 03, 2014
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                                    NERA Economic Consulting




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1.       Mandate and Qualifications.
1.1.     Mandate.
         1.        On July 24, 2014, Nortel Networks Inc. (“NNI”) and certain of its affiliates
(collectively, the “U.S. Debtors”) filed the Debtor’s Motion for Entry of an Order Pursuant to
Bankruptcy Rule 9019 Approving Settlement Agreement By and Among NNI, the Supporting
Bondholders, and the Bank of New York Mellon With Respect to the NNI PPI Dispute and Related
Issues (the “Motion”). The Motion seeks the approval of a proposed settlement of certain post-
petition interest (“PPI”) issues (the “Proposed Agreement”) among NNI, certain holders of bonds
issued by Nortel Networks Corporation (“NNC”) and Nortel Networks Limited (“NNL”) and
guaranteed by NNI (the “Guaranteed Bonds”), and Bank of New York Mellon, as indenture trustee
in respect of the Guaranteed Bonds.1

         2.        Counsel for Ernst & Young Inc., in its capacity as the Monitor for NNC, NNL, and
certain of their direct and indirect subsidiaries (collectively, the “Canadian Debtors”), requested
that I prepare this report setting out my opinions and calculations in regards to the notional surplus
that would be available to NNI to pay PPI to its unsecured creditors.

         3.        Specifically, I have been asked to consider and review the Proposed Agreement and
to provide my opinions with respect to the following issues:

         a. in the event that NNI is found by the U.S. Bankruptcy Court to be solvent, to analyze the
              range of notional surplus available after distributions on account of allowed claims that
              would be available for the payment of PPI to the Bondholders; and

         b. based on the analysis of the surplus available in the NNI estate, to analyze the value
              claimed to be given up by the Bondholders pursuant to the Proposed Agreement.

         4.        This report contains my opinions and calculations regarding the above request and is
prepared in anticipation of a hearing scheduled to be held on the Motion on November 4, 2014.




1
     Holders of the Guaranteed Bonds are hereinafter referred to collectively as the “Bondholders.”

                                                                                                              1
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1.2.        Qualifications.

            5.       I am a Professor of Accounting at Abilene Christian University, where I currently
teach courses in financial accounting, accounting research and advanced auditing. I have previously
served as a professor at Pepperdine University and East Carolina University, where I have taught
courses in financial statement analysis, accounting information systems, accounting fraud,
accounting theory, corporate tax, cost accounting and auditing.

            6.       I hold both a Master of Science in Accounting and a Ph.D. in Accounting and Finance
from the University of Kansas. I obtained a BBA degree in Accounting from Texas A&M
University and an MBA from Abilene Christian University. I am a Certified Public Accountant
(CPA), Certified Management Accountant (CMA), Certified Fraud Examiner (CFE) and Certified
Financial Manager (CFM). I am a member of the American Institute of Certified Public
Accountants, the American Accounting Association, the Institute of Management Accountants, the
Texas Society of CPAs, and the Association of Certified Fraud Examiners.

            7.       I am also a Special Consultant for NERA Economic Consulting (“NERA”). I
provide GAAP, SEC and IFRS analyses for complex transactions, examinations of financial
disclosures, analyses of financial reporting, and econometric studies. My work is often in the
context of providing expert assistance for complex litigation and class actions.

            8.       Among other accounting and finance related issues, I have provided expertise in the
presentation and interpretation of financial statements as they relate to insolvency and bankruptcy
matters, the interpretation of GAAP, and the use of financial data in the analysis of corporate
transactions. I have been retained and have provided consulting services for leading insolvency and
bankruptcy cases including matters related to the bankruptcy of Enron, the Stanford Investment
Bank, Homestore, Inc., Adelphia, and Nortel Networks Corporation. 2




2
    Expert Report of Paul Wertheim, filed February 28, 2014, Ontario Superior Court of Justice, in the Matter of the Companies’
       Creditors Arrangement Act, R.S.C. 1985, c. C-36, as Amended, and in the Matter of a Plan of Compromise or Arrangement of
       Nortel Networks Corporation, Nortel Networks Limited, Nortel Networks Global Corporation, Nortel Networks International
       Corporation and Nortel Networks Technology Corporation, Court File No. 09-CL-7950. (On behalf of Counsel for Ernst &
       Young Inc., in its capacity as the Monitor for Nortel Networks Corporation, Nortel Networks Limited, Nortel Networks Global
       Corporation, Nortel Networks International Corporation, and Nortel Networks Technology Corporation).




                                                                                                                                     2
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        9.      My prior consulting experience has included a variety of accounting and financial
analysis related issues. For a large financial services holding company, I examined the cash flow
forecasts of the company and other liquidity events in order to determine the impact on
management’s responsibility to discuss liquidity issues as part of Management’s Discussion and
Analysis. As part of the same case, I also examined the deferred tax asset account in order to
determine if the current level of income was sufficient to utilize the full amount of the tax loss
carryforwards, and to what extent, if any, an asset impairment would be required.

        10.     For another client, in the context of business combinations and consolidated financial
statements, I assessed the appropriateness of the cost basis to be used in accounting for subsidiaries,
including the appropriate asset values and goodwill to be recorded on the books of each entity. I
also examined various company events and Board discussions to identify the various SEC
“triggering” events that affect the timing of when a company should disclose that its financial
statements should no longer be relied upon.

        11.     Other selected consulting activities have included: comparison of US GAAP and
IFRS accounting treatment for a large multinational financial services company in order to
determine compliance with accounting reporting requirements; advised client on matters related to
GAAP and SEC reporting requirements for loan loss estimation and loan loss reserves; performed a
detailed cost accounting analysis to determine cost-of-goods-sold for products provided by a large
Canadian retail services company; determined the financial statement impact of alleged fraudulent
accounting transactions; performed forensic accounting on the point of origin of accounting entries;
calculated lost revenue/income from breach of contract; and performed an assessment of the
reasonableness of management’s accounting estimates.

        12.     My C.V. is provided in Appendix A. Included in my C.V. is a list of all publications
I have authored in the previous 10 years (and beyond) and a list of all cases in which I have testified
as an expert in the last four years.

        13.     NERA is being paid $750 per hour for my work on this matter, with lower rates for
staff working under my supervision. Our payment is not contingent on my opinions nor on the
outcome on this matter.




                                                                                                      3
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2. Scope of Review.

            14.        In preparing this report, I have relied upon various court filings, testimony,
depositions, and selected financial information, including the following:

            a.         various filings made in the Canadian and U.S. insolvency proceedings;
            b.         certain publicly available financial information for NNC, NNL, and NNI;
            c.         transcripts of certain depositions, trial testimony, and opening and closing statements.

            15.        A detailed list of the documents upon which I have relied is provided in Appendix B
to this report.


3. Summary of Opinions.

            16.     The Proposed Agreement purports to settle the PPI dispute by reducing the PPI that the
Bondholders would receive from a total accrual of $1.657B (as of June 30, 2015) to a maximum of
$1.01B,3 or a decrease of $647M as a result of the Proposed Agreement.

            17.     Using financial information for NNI, NNL, and NNC I have calculated the maximum
net assets (i.e., maximum surplus cash) that would be available to NNI for payment of PPI. In order
to calculate the maximum surplus cash that would be available, I have had to assume certain
outcomes that may be considered to be the “best case” scenario for NNI—specifically, outcomes that
would maximize NNI’s net assets for distribution.

            18.     At the heart of these assumptions is the outcome of the pending allocation dispute. In
order to calculate the maximum surplus cash available to NNI, I assumed that the U.S. Debtors’
position will prevail in the allocation litigation and the U.S. Debtors will receive 100% of their
requested allocation of the Nortel asset sale proceeds. Therefore, allocation proceeds were based on
the publicly filed version of the Expert Report of Jeffrey Kinrich, (the “Kinrich Report”), dated
January 24, 2014, which was filed by the U.S. Debtors in support of their allocation position. In his


3
    The Debtors have contended that the Proposed Agreement is an $876 million settlement. However, the Proposed Agreement
       actually provides the Bondholders with up to $1.01 billion in PPI. Specifically, Section 2.2 of the Proposed Agreement provides
       the Bondholders with $876 million “plus an additional amount, equal to 3.50% per annum times the then outstanding principal
       balance of the Guaranteed Bonds, up to a maximum amount of $134 million, which additional amount shall accrue on the unpaid
       and outstanding principal balance of the Guaranteed Bonds that remains unpaid and outstanding during the time of accrual for the
       period from July 1, 2014 until the earlier of (x) June 30, 2015 or (y) the date of the final distribution in respect of the Guaranteed
       Bonds.” Pursuant to Section 2.2 of the Proposed Agreement the true cap on PPI is $1.01B.


                                                                                                                                           4
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report (Exhibit 33), Mr. Kinrich presents the case for an allocation of sales proceeds to the U.S.
Debtors in the amount of $5.302B.4 This and other assumptions I have made for the purpose of
performing my analysis are detailed in Sections 4 and 5 of this report. Results of the distribution
analysis for NNI show the following:

Total Cash Available to NNI for Distribution to Creditors5                                                               $6,209.0M
Less: Claims to be Settled by the Distribution, excluding PPI                                                            $5,238.0M
Net Assets Available to NNI to Pay Total PPI                                                                                 $971M


            19.     Based on this analysis and assuming the best outcome of events for NNI (outcomes
that maximize net assets for distribution), only approximately $971M of net cash would exist with
which to pay PPI. In other words, even if you stretch the outcome of events in all cases in favor of
NNI such that surplus cash is maximized, NNI would still have less than the settlement amount of
$1.01B with which to pay PPI.

            20.     Furthermore, in addition to the claims that are included in the amounts shown above,
several additional potential claims and deductions are identified that could further reduce surplus
cash available to NNI for distribution. As detailed in Section 5.1 (and Table 5), these additional
amounts relate to:

Reduction in surplus cash if NNI pays towards the Guaranteed Bonds
and the NNCC Notes (non-settling bonds) first:                                                                                $286.3M
Reduction in surplus cash if the NNUK pension claims are not dismissed: 6                                                       45.5M
Additional PPI attributable to the NNCC Notes:                                                                                  30.5M
Additional post-petition U.S. tax liability yet to be settled: 7                                                               266.7M
Additional claims filed by the Pension Benefit Guaranty Corporation:                                                           115.0M
Total potential reduction in surplus cash available to NNI to PPI
to the Bondholders pursuant to the Proposed Agreement                                                                         $744.0M



4
    Specifically, the allocation of $5.302B to the U.S. Debtors presented in the Kinrich Report consists of a $5,259,681,444 allocation to
       NNI, $40,625,788 to NN CALA, and $2,238,887 to NNII, for a total of $5.302B. For my analysis, I have assumed the full
       $5.302B would be available to NNI for distribution. To the extent that amounts allocated to NN CALA and NNII are not
       available to NNI for distribution, surplus cash could be reduced.
5
    As stated above, the amount of cash available to NNI for distribution is based on the full $5.302B as given in the Kinrich Report for
       allocation to the U.S. debtors. If this full amount is not available to NNI for distribution, “cash available to NNI” in this
       calculation could be reduced.
6
    This reduction assumes that the NNUK pension claims total $670.
7
    The range for the potential tax liability (discussed in Section 5.1) has been stated by NNI to be $400M to $1B. The calculation of the
       additional post-petition tax liability (over what is included in my analysis of NNI surplus cash) shown here is based on the low
       end of the range. To the extent that the U.S. tax liability is greater than $400M, surplus cash would be decreased even further.

                                                                                                                                        5
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            21.    These deductions could have the effect of reducing surplus cash for NNI by an
additional $744M or more. Thus, even if a portion of the currently existing claims subject to
compromise for NNI are reduced or eliminated, the net cash available for payment of PPI to the
Bondholders that are part of the Proposed Agreement would still be less than $1B.

            22.    Based on my analysis, I conclude that the Bondholders would not have been able to
receive on account of PPI more than $1B in payments from NNI, even absent the settlement.
Therefore, in my opinion, the value of the Proposed Agreement to the NNI estate is $0, given that
the Bondholders did not “concede” anything of value when they settled for a decrease in PPI from
$1.657B to $1.01B. The settlement value of $1.01B is outside the range of extremes that the
Bondholders could have received, even under the most optimistic assumptions.


4.          Calculations and Analysis.

4.1         Methodology.

            23.      I have been instructed to assume, for purposes of this report, that PPI in a chapter 11
case in the U.S. may sometimes become payable in the event that there is a surplus in the estate, i.e.,
when the assets in the estate upon distribution are greater than the allowed claims. This surplus
cash, after payment of allowed claims, may be used to satisfy PPI owing to unsecured creditors. In
the current case, the U.S. entity, NNI, is a guarantor of the Guaranteed Bonds. At the time of the
Chapter 11 filing in the U.S., the principal amount of the Guaranteed Bonds was $3.825B and the
pre-petition interest that was owed on those bonds amounted to $115.7M.8 I understand that the
dispute over legal entitlement to PPI is whether PPI is to be calculated at the contract rate, under
which the PPI that has accrued since the Chapter 11 filing date would total $1.657B (calculated as of
June 30, 2015), versus the federal judgment rate. The Proposed Agreement purports to settle the PPI
dispute by capping the Bondholders’ entitlement to PPI at $1.01B, or a decrease in PPI of
approximately $647M from the Bondholders’ claimed contract-rate entitlement of $1.657B.


            24.      I have been asked to calculate the maximum amount of net assets that would be
available to NNI to pay PPI under the best-case scenario for NNI, with all major assumptions



8
    See Schedule A of the Proposed Settlement.

                                                                                                               6
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construed in NNI’s favor. The basic formula for determining the net assets of NNI at the time of
distribution is as follows:

         Total Cash Available to NNI for Distribution to Creditors                        $XX
         Less: Claims to be Settled by the Distribution                                    XX
         Net Assets Available to Pay Total PPI                                            $XX


         25.    The “Total Cash Available to NNI for Distribution to Creditors” is calculated as the
sum of (1) cash received by NNI from the allocation of the $7.3B sales proceeds, (2) NNI’s current
cash balance at the time of distribution, and (3) cash received from NNI’s recovery of its allowed
$2,062.7M claim against NNL in the CCAA proceedings.

         26.    “Claims to be settled by the distribution” is calculated as the sum of (1) liabilities not
subject to compromise, (2) the various liabilities subject to compromise, and (3) certain other claims.
The remaining net assets after distribution, i.e., the surplus cash, is what would be available to NNI
for payment of PPI to the Bondholders and other non-settling unsecured creditors of NNI.

4.2      Assumptions Used in the Analysis.

         27.    The dollar amounts for both “cash available to NNI for distribution to
creditors” and “claims to be settled by the distribution” are affected by various scenarios that
have possible alternative outcomes. For purposes of this analysis, three main individual
outcome alternatives have been identified that will materially affect the amount of net assets
that NNI would have following distributions on account of allowed claims. The three outcome
alternatives, in the form of questions, are:

a.    Which entity is the first to make a payment towards the Guaranteed Bonds and the NNCC
Notes?

This issue addresses whether NNI or NNC/NNL are the first to make a payment towards the
Guaranteed Bonds and the NNCC Notes. If either NNC or NNL pays first, the amount required to
be paid by NNI (pursuant to NNI’s guarantee obligations) would be decreased, thereby increasing
the amount of net assets available to NNI for payment of PPI. Thus, an outcome where NNC or
NNL pays towards the Guaranteed Bonds and the NNCC Notes first will maximize the net assets
available to NNI. My understanding is that the question of which entity makes the first payment
toward the Guaranteed Bonds and the NNCC Notes is an unresolved issue. Solely for the limited
                                                                                                         7
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purposes of the analysis set forth herein, my calculations were performed based on the assumption
that the first payment toward the Guaranteed Bonds and the NNCC Notes would flow from NNC
and NNL. This assumption should not be read to reflect any legal analysis or opinion. Rather, it is a
mere assumption that I have made in order to perform my calculations based on the scenario that
would maximize the net assets available to NNI to pay PPI.

b.   What percentage of their requested allocation of sale proceeds do the U.S. Debtors receive?

Exhibit 33 of the Kinrich Report sets forth the U.S. Debtors’ position on the appropriate allocation of
the $7.3B in Nortel asset sale proceeds among the U.S, Canadian and EMEA Debtors. In the
Kinrich Report, the amount that is argued to be allocated to the U.S. Debtors is $5.302B. For the
limited purposes of this report, I have assumed that the U.S. Debtors receive 100% of the requested
allocation. An outcome where the U.S. Nortel estates receive 100% of their requested allocation
would maximize the net assets available to NNI.

c.   Are the NNUK pension claims against the Canadian Debtors dismissed?

If the NNUK pension claims against the Canadian Debtors are dismissed, the Canadian Debtors will
have more assets, i.e., cash, to distribute to other claimants, including NNI. Thus, an outcome where
the NNUK pension claims against Canada are dismissed would in turn maximize the net assets
available to NNI.

       28.     For purposes of my analysis, in order to calculate the maximum amount that could be
available to NNI for the payment of PPI, I have assumed what I consider to be the “best case”
scenario for NNI in regards to each of the above situations. In other words, I have assumed that: (1)
NNC or NNL make first payment towards the Guaranteed Bonds, (2) the U.S. Debtors receive 100%
of their requested allocation of sale proceeds, and (3) the NNUK pension claims against NNL are
fully dismissed.

       29.     In addition to the above, an assumption was also required regarding the estimated
cash burn rate for both NNL and NNI for the time period up until the distribution of the proceeds to
creditors. As the cash burn rate increases for either or both estates, the “net” cash that NNI would
have available for payment of PPI decreases.




                                                                                                       8
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            30.       For NNL, I have assumed a $0 cash burn rate from the April 2015 estimated cash
balance through the date of distribution of the assets to creditors. Based on the date that was used in
the Proposed Agreement as the cut-off date for accrued interest, I have used June 30, 2015, in my
analysis as the estimated date of distribution to creditors.

            31.       For purposes of the distribution analysis for NNI, I have assumed a cash burn rate of
$5M per month through the date of distribution. Use of a cash burn assumption in calculating
surplus cash is both realistic and appropriate, and has also been incorporated into the analysis
performed by John Ray.9 An examination of historical cash burn for the U.S. Debtors revealed an
average monthly cash burn in excess of $10M per month.10 Using a low burn rate is to the
advantage of NNI, as a low burn rate assumption increases the surplus cash available for payment of
PPI. If future cash burn is estimated at a conservative $5M per month going forward, this would
total $47.5M of cash burn through the date of distribution.

4.3         Calculation of Net Cash Available to NNL for Payment of Claims.

            32.       Using relevant financial information, the analysis below presents calculations for the
cash available for distribution and the claims to be settled by the distribution from NNL. Formulas
and assumptions are disclosed in the relevant footnotes when necessary. Because the cash available
to NNI is dependent on the distributions made by NNL, the distribution analysis for NNL is
performed first, and is shown in Table 1 below.




9
    Transcript of the deposition of John Ray, dated September 15, 2014 (“Ray Tr.”), page 99:17-19.
10
     Using Monthly Operating Reports Nos. 51 through 60 (for the periods April 30, 2013 through January 31, 2014), the Cash
       Summary Worksheet, dated September 12, 2014, and fee/expense information submitted by Cleary Gottlieb Steen & Hamilton
       LLP, I calculated monthly cash burn for the 10 month period ending January 31, 2014, as well as the 10 month period ending
       September 12, 2014. Average historical monthly cash burn for those time periods has exceeded $10M per month. Although it is
       reasonable that cash burn might decrease going forward, there are still many potential activities (development of a distribution
       plan, appeals, continuing work on outstanding disputes, etc.) that will require cash outlays. I have conservatively estimated a
       cash burn going forward of $5M per month, or less than half of the recent historical monthly cash burn.

                                                                                                                                     9
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TABLE 1
Detailed Distribution Analysis for NNL (in millions):

 NNL Cash Available for Distribution:
          Allocation from the sale proceeds 11                                                                  $772.8M
                                                        12
          Current cash balance at distribution                                                                   329.4M
          Total cash available for distribution                                                                1,102.2M
                                                                                             13
          Less: $62.7M priority payment on “Payment to US Subsidiaries”                                            62.7M
          Net cash available for distribution                                                                $1,039.5M

 Claims to be Settled by the Distribution:
          Payable to NNI ($2,062.7M - $62.7M)                                                                $2,000.0M
                              14
          Long-term debt                                                                                       3,975.0M
          Interest on long-term debt (Pre-petition) 15                                                           116.7M
                  16
          Other                                                                                                3,235.0M
          Total liabilities subject to compromise                                                            $9,326.7M


 Percentage paid to claims upon distribution (the “payout ratio”) 17                                             11.15%



            33.        Based on the assets available for distribution ($1,039.5M) and total claims to be paid
($9,326.7M), NNL will be able to pay approximately $.1115 per dollar of claim, after the $62.7M
first paid to NNI as a priority claim.

            34.        In addition to the base calculations presented in Table 1 above, I performed a
sensitivity analysis to measure the effect on the payout ratio for NNL and the effect on surplus cash
for NNI assuming either a decrease in NNL claims of $100M or an increase in NNL assets of
$100M. For illustrative purposes, results from this sensitivity analysis are presented below:

11
     The Kinrich Report, Exhibit 33.
12
     Equals the estimated cash balance at April 2015, per the 108th Monitor’s Report, Appendix B, excluding restricted cash, and
       assuming a zero cash burn rate going forward. Given that the majority of receivables are “intercompany” receivables and have a
       low, if not zero probability of collection, and given that all asset sales have virtually been completed, I have assumed a $0
       recovery on receivables and other assets.
13
     NNL has a $62.7M priority payment that is due to NNI. [35th Monitor’s Report, dated January 18, 2010, paragraph 37(j)(2)].
       Therefore, this payment is assumed to be made prior to other claims.
14
     Includes debt with crossover claims against certain of the U.S. Debtors.
15
     See BHG-PPI-0000071.
16
     The sum of other claims as identified in the 10-Q for NNC, dated June 30, 2012, footnote 15, plus $125M for a payable to EMEA.
17
     This percentage equals the NNL net cash available for distribution divided by the total liabilities to be paid. It represents the
       percentage of each claim dollar that will be paid upon distribution.

                                                                                                                                         10
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             If total claims for NNL are decreased by $100M, the payout ratio increases to 11.27% and
                  the surplus cash for NNI increases by $7.4M.

             If total assets for NNL are increased by $100M, the payout ratio increases to 12.22% and
                  the surplus cash for NNI increases by $65.3M.

4.4         Calculation of Net Cash Available to NNI for Payment of PPI.

            35.     Using relevant financial information for NNI, Table 2 presents calculations for the cash
available for distribution and the claims to be settled by the distribution for NNI. Formulas and
assumptions are disclosed in the relevant footnotes when necessary.

TABLE 2
Detailed Distribution Analysis for NNI (in millions):

 NNI Cash Available for Distribution:
          Allocation from the sale proceeds                                                             $5,302.5M
          Current cash balance at distribution 18                                                           620.9M
                                                                         19
          NNI recovery from the $2,062.7 claim against NNL                                                  285.6M
          Total cash available for distribution                                                         $6,209.0M


 Less: Claims settled by the distribution:
          Liabilities not subject to compromise 20                                                           54.6M
          Liabilities subject to compromise:
                Contingent liability for NNI’s debt guarantee 21                                          3,532.0M
                Contingent liability for interest on NNI’s debt guarantee 22                                103.7M
                Pension obligations                                                                         593.0M



18
     Equals the estimated cash balance at September, 2014 (see Cash Summary Worksheet, dated September 12, 2014, “Country” tab,
       NNC-NNL-PPI-000001), minus any assumed cash burn from September, 2014 through the date of distribution. For purposes of
       this analysis, a cash burn rate of $5 per month is assumed from September 12, 2014 through the date of distribution.
19
     Represents the total amount paid by NNL to NNI related to NNI’s $2,062.7M claim against NNL. The total amount collected by
       NNI equals the $62.7M priority payment from NNL plus any additional amount paid by NNL upon distribution. [$62.7 +
       (($2,062.7 - $62.7) X .1115) ].
20
     Monthly Operating Report No. 60, dated January 31, 2014, page 3.
21
     This represents the amount paid by NNI related to interest on NNI’s guarantee of the bonds issued by NNL. If NNI pays first, then
       the amount equals $3,975M (see BHG-PPI-0000071). If NNL pays first, then the amount paid by NNI equals $3,975M minus
       the amount paid by NNL. For purposes of this analysis, it is assumed that NNL pays first. Therefore, the amount to be paid by
       NNI = [$3,975 - (3,975 x .1115) ].
22
     This represents the amount paid by NNI related to NNI’s guarantee of the bonds issued by NNL. If NNI pays first, then the amount
       equals $116.7M (see BHG-PPI-0000071). If NNL pays first, then the amount paid by NNI equals $116.7M minus the amount
       paid by NNL. For purposes of this analysis, it is assumed that NNL pays first. Therefore, the amount to be paid by NNI = [
       $116.7 - (116.7 x .1115) ].

                                                                                                                                   11
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                Other 23                                                                                  736.3M
                           24
          Other claims:
                PPI attributable to the NNCC Notes                                                          45.8M
                PPI attributable to non-bondholder U.S. Creditors                                           39.3M
                Post-petition tax liability                                                               133.3M
          Total liabilities to be settled by the distribution                                          $5,238.0M


 Surplus Cash Available to Pay PPI Attributable to the Bondholders                                       $971.0M



            36.     As shown in the above analysis (using outcomes and assumptions that maximize net
assets after distribution), only approximately $971M of surplus cash would exist with which to pay
PPI to the Bondholders pursuant to the Proposed Agreement. Further discussion related to certain
components of the surplus cash is presented in Section 5 below.


5. Discussion and Conclusions.

5.1         Other Variables Which Could Further Decrease Cash Available to NNI.

            37.     Based on the assumptions used in the above analysis, NNI would have surplus cash of
$971M available for the payment of PPI to the Bondholders. The assumptions used were those that
would benefit NNI, i.e., conditions which would maximize the amount of available surplus cash to
NNI. As discussed in Section 4.2 above, these assumptions are:

             NNI receives 100% of its requested allocation of sale proceeds;
             NNL/NNC makes the first payment towards the $3,975M of Guaranteed Bonds;
             NNUK pension claims against NNL are fully dismissed;
             NNI has a $5M cash burn from September 2014 through distribution;
             NNL has a $0 cash burn from April 2015 through distribution.

            38.     If any of the assumptions above are not met, the amount of surplus cash available to
NNI would decrease. In addition, there are also other amounts that, although not included in the
$971M surplus cash calculation, could further reduce the net cash available to NNI. These amounts
relate to:

23
     Equals the sum of other claims not already included in the analysis, as identified in Monthly Operating Report No. 60, dated
       January 31, 2014, footnote 4. Monthly Operating Report No. 60, for the period ended January 31, 2014, was the last report made
       publicly available.
24
     See discussion in Section 5.1.

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            a.    any additional PPI that would need to be paid to holders of the NNCC Notes, who are
                  not part of the Proposed Agreement;
            b.    any additional U.S. tax liability that might need to be paid by NNI;
            c.    any additional PBGC pension claims that might need to be paid by NNI.

            39.       PPI attributable to the NNCC Notes. The Proposed Agreement does not apply to all
Nortel bonds. There are $150M of 7.875% notes issued by Northern Telecom Capital Corporation
and guaranteed by NNL (the “NNCC Notes”) that are not part of the settlement.25 Therefore, to the
extent the NNCC Notes are entitled to PPI, this amount of PPI may also need to be paid by NNI, and
would reduce the amount of surplus cash that NNI would have available to pay PPI to the
Bondholders.

            40.       I have calculated PPI for the NNCC Notes at the contract rate (7.875%) for the period
January 14, 2009, through June 30, 2015, the estimated distribution date. For comparative purposes,
I have also calculated accrued interest at 4%, 2%, and the applicable federal judgment rate of .44%,
in the event that PPI on the NNCC Notes is paid at an amount lower than the contract rate.

            41.       For the NNCC Notes, total PPI at the contract rate amounts to $76.3M. For purposes
of the distribution analysis performed in Table 2, I have assumed that PPI would be paid to the
holders of the NNCC Notes at only 60% of the contract rate, a discount comparable to the discount
offered to other bonds in the Proposed Agreement. If paid at distribution by NNI, this payment to
the holders of the NNCC Notes would reduce surplus cash by $45.8M. If payment was required to
be at the full contract rate, surplus cash could be reduced by another $30.5M, thus further reducing
the cash that would be available to NNI to pay PPI to the Bondholders pursuant to the Proposed
Agreement.

            42.       In addition to the NNCC Notes, other U.S. non-bondholder creditors might also be
entitled to PPI. This fact is acknowledged in the Proposed Agreement:

            “holders of Guaranteed Bonds shall be entitled to payment from NNI of PPI in the
            PPI Settlement Amount and shall be paid PPI from such funds available for such
            distributions (together with any other creditors of NNI entitled to payments of PPI) in
            accordance with a confirmed chapter 11 plan until the PPI Settlement Amount is paid
            in full.” 26



25
     Motion, paragraph 21, footnote 17.
26
     Proposed Agreement, Section 2.1, Exhibit B to the Motion.

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            43.       A situation where PPI may be attributable to non-bondholder U.S. creditors was also
acknowledged in the deposition of John Ray:

            “I believe that there was potential outcomes of the ultimate resolution of the estates
            under which there would be cash available in the US, and depending on the cash
            availability, there would be amounts available to pay PPI to all creditors of the US
            estate, not just the bonds....” 27


            44.       Assuming that PPI on non-bondholder U.S. unsecured liabilities accrues at the
applicable federal judgment rate of .44%, total PPI through the estimated date of distribution
amounts to $39.3M (see Table 3 below). For purposes of the distribution analysis performed in
Table 2, I have assumed payment of PPI to non-bondholder debt at this amount.

TABLE 3
Calculation of PPI Attributable to NNCC Notes and Non-Bondholder U.S. Creditors:


                                                        Total Post-Petition Interest from January 14, 2009
                                                                     through June 30, 2015:


                                                                                                     At the Contract
                                               At the Federal                                         Rate (for the
                                               Judgment Rate                                         NNCC Notes)
                            Principal           of .44% per       At 2% Per          At 4% Per       of 7.875% Per
 Claim                    Amount of Claim           year            Year                Year              Year




 NNCC 7.875%
 Notes Due 2026                $150,000,000        $4,263,781      $19,380,000       $38,760,000        $76,308,750



 U.S. Unsecured
 Claims Other
 Than Guaranteed
 Bonds                        $1,383,900,000     $39,337,642      $178,807,463      $357,614,926             N/A

            45.       Total PPI is payable out of the surplus cash following distribution to NNI’s creditors.
Thus, in order for the Bondholders to be able to receive their full PPI up to the cap provided in the
Proposed Agreement ($1.01B), there must be enough total surplus cash to also be able to pay the PPI
that would be attributable to all other parties that are also entitled to PPI. I have been informed by

27
     Ray Tr. at 72:21-73:3.

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counsel that to the extent that there is any surplus, all unsecured creditors, including non-bondholder
U.S. unsecured creditors, would be entitled to assert an entitlement to PPI.

            46.       Additional U.S. tax liability. Another potentially significant claim that could further
reduce the cash surplus available for payment of PPI is a post-petition U.S. tax liability for NNI.
This tax liability is due to the fact that NNI has unfinished tax reporting for the post-petition period,
the finalization of which is dependent on outcomes of the allocation process. The existence of a
future U.S. tax liability for NNI was acknowledged by NNI during the allocation trial. For example,
consider the following statements by NNI counsel Lisa Schweitzer and Sheila Block: 28

            Ms. Block: “In the case of NNI, it is liable to account for claims of over $5 billion,
            claims that run the gamut of guarantees, of loans, of trade accounts, long term debt,
            pension and retiree medical, employee obligations.· That’s pre-petition.· And then, in
            addition, the tax liability is as yet undetermined.” (p.171:7-13)

            Ms. Block: “I don’t know what the specifics are.· Ms. Schweitzer could give you
            chapter and verse.· All I know is that [the tax claim] could be between 400 million
            and a billion dollars, depending on when the money comes in, how it gets distributed
            and so on.” (p.171:24-172:4)

            Ms. Schweitzer: “So NNI hasn’t yet finalized its tax reporting for the post-petition
            periods, so without getting into the details of any claim, this is post-petition taxes that
            would be owed to the government at the end of the sale process.” (p.172:20-24)

            47.       Based on the statements made by NNI counsel to the Courts, the post-petition NNI
tax claim is estimated to be between $400M and $1B. For purposes of the distribution analysis
performed in Table 2, I have assumed a conservatively low estimate of only one-third of the lower
end of the range identified by NNI’s counsel, or $133M. Although a $133M estimate may be
unrealistically low, using an optimistically low estimate of the tax liability is to the advantage of
NNI, as a low tax liability increases the surplus cash available for payment of PPI. Incorporating
some amount for the post-petition tax liability in calculating surplus cash for NNI, however, is
appropriate, and has also been incorporated into the analysis performed by John Ray.29

            48.       NNI’s counsel placed the low end of the estimate at $400M. The distribution analysis
I performed in Table 2 includes an estimate of $133M for the tax liability. Thus, realistically the tax



28
     Transcript of Nortel Trial, Day 1, May 12, 2014.
29
     Ray Tr. at 98:19-22.

                                                                                                           15
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liability could be $267M greater than the amount incorporated into Table 2, and possibly even more,
thus reducing surplus cash by $267M or more.

            49.       Additional PBGC pension claims. On July 7, 2014, the Pension Benefit Guaranty
Corporation (“PBGC”) filed amended claims against the U.S. Debtors, asserting inter alia a revised
estimated claim of approximately $624.6M for unfunded benefit liabilities and an estimated claim of
approximately $83.4M for pension insurance premiums.30 Together these amended claims represent
an additional estimated pension related liability of $115M, which liability is not included in the
calculation of surplus cash in Table 2. Thus, if paid during the distribution process, these additional
PBGC claim amounts could reduce the surplus cash available for the payment of PPI by an
additional $115M.

5.2         Conclusions on the Net Cash Available to NNI for Payment of PPI.

            50.       Based on the analysis performed in this report, the maximum amount of net assets
available to NNI for the payment of PPI to the Bondholders pursuant to the Proposed Agreement
would be approximately $971M (Table 2). In an attempt to determine the maximum surplus cash,
the $971M amount assumes the following outcomes in favor of maximizing NNI’s net assets upon
distribution:

TABLE 4
Assumptions Used in the Calculation of Surplus Cash for NNI (from Table 2):
       NNL or NNC are first to make payments towards the Guaranteed Bonds, thereby reducing the
        payment required by NNI as guarantor;
       NNI receives 100% of its requested allocation of the $7.3B in Nortel asset sale proceeds;
       The NNUK pension claims against Canadian debtors are fully dismissed, thereby increasing the
        amount that NNL can pay towards both the bonds and the $2.0627B claim that NNI has against
        NNL;
       NNI has a $5M cash burn rate from September, 2014, through the date of distribution;
       NNI has a $0 cash burn rate from April, 2015, through the date of distribution;


30
     The PBGC initially filed four proofs of claims on September 29, 2009, against the U.S. Debtors: (i) a claim for unfunded benefit
       liabilities (claim number 4735), which the PBGC estimated at $593,100,000; (ii) an unliquidated claim for minimum funding
       contributions (claim number 4736); (iii) an unliquidated claim for pension insurance premiums (claim number 4737); and (iv) an
       unliquidated claim for shortfall and waiver of amortization charges (claim number 4738). The PBGC filed claims amending all
       of the above claims on July 7, 2014. Claim number 8763 amended original claim number 4735 and revised the estimated claim
       amount upwards from $593,100,000 to $624,601,972. Claim number 8762 amended original claim number 4737 to assert an
       estimated claim amount of $83,392,500. Claim numbers 8760 and 8761 amended original claim numbers 4736 and 4738
       although those two claims remain unliquidated.

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       NNI pays only 60% of contact-rate PPI to the holders of the NNCC Notes;
       NNI pays $39.3M of PPI in connection with non-bondholder unsecured claims, calculated using
        the federal judgment rate;
       NNI pays only $133M related to a post-petition tax liability (which could be as large as $1B),
        and
       NNI pays $0 related to the updated PBGC pension claims.

            51.        Even with all of these variables in favor of maximizing surplus cash, NNI would still
not have enough surplus cash to pay the settlement amount of $1.01B. Furthermore, additional
variables could reduce surplus cash even further. For example, the items discussed in this section,
which include amounts that have not been incorporated into the $971M, have the potential to reduce
surplus cash by another $744M, if not more, as shown below:

Reduction in surplus cash if NNI pays towards the Guaranteed Bonds first                                                        $286.3M
Reduction in surplus cash if the NNUK pension claims are not dismissed                                                            45.5M
Additional PPI attributable to the NNCC Notes (non-settling bonds)                                                                30.5M
Additional post-petition U.S. tax liability yet to be settled31                                                                  266.7M
Amended claims filed by the Pension Benefit Guaranty Corporation                                                                 115.0M
Total potential reduction in surplus cash available to NNI to pay post-
petition interest to the Bondholders pursuant to the Proposed Agreement                                                         $744.0M

            52.        In the event that non-bondholder U.S. claims are below the amount included in my
analysis, this decrease in claims would have the effect of increasing surplus cash. However, in my
opinion, there are several reasons why the $971M from my analysis still represents an upper limit to
the amount of surplus cash:

            a.     I included only $133M as an estimate of the post-petition tax liability. I included such a
                   low estimate to illustrate that even in optimistic circumstance, NNI would have less than
                   $1B in surplus cash. However, the $133M estimate may be unrealistically low; it
                   represents only one-third of the low end of the estimate ($400M) given by NNI’s
                   counsel during trial and I have made that estimate notwithstanding the fact I have also
                   assumed that the U.S. Debtors receive 100% of their requested allocation of sale
                   proceeds. Assuming the representations of NNI’s counsel, and given that the tax
                   liability amount I have used is at the low end of the range, this additional tax liability
                   could offset decreases in allowed claims up to that amount.

            b.     My analysis included PPI payable to non-bondholder U.S. creditors calculated at the
                   federal judgment rate, and PPI payable to the NNCC bondholders at only 60% of the

31
     As discussed above, the range for the potential tax liability (discussed in Section 5.1) has been presented at $400M to $1B. The
       calculation of the additional post-petition tax liability shown here is based on the low end of the range. To the extent that the
       U.S. tax liability is greater than $400M, surplus cash would be decreased even further.

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              contract rate. If non-bondholder PPI was at a rate higher than the federal judgement rate,
              and/or if NNCC bondholders were entitled to more than 60% of the contract rate, surplus
              cash would be reduced.

        c.    My analysis included $0 for the amended PBGC claims. To the extent that these claims
              exist at an amount greater than $0, surplus cash would be further reduced.

        53.      Thus, in my opinion, the economics of the NNI estate are such that any PPI that
could be available to be paid by NNI to the Bondholders pursuant to the Proposed Agreement
would be less than the settlement amount of $1.01B.

        54.      For comparative purposes, and in order to test the sensitivity of surplus cash to
changes in the underlying assumptions, in Table 5 I have re-calculated the surplus cash total from
Table 2 after changing, one at a time, each underlying assumption. As demonstrated in Table 5,
because the assumptions were initially all set in favor of NNI, any change in assumptions decreases
surplus cash. In Table 5, I show the dollar decrease in surplus cash that would occur if a particular
assumption is changed, while holding the other assumptions constant.

TABLE 5
Calculation of the Decrease in Surplus Cash Due to Changes in Assumptions:


                                                                        Potential
                                                    Assumptions        Change to       Dollar Decrease in
                                                     from the             Each        Surplus Cash Due to
                                                      “Initial”       Individual       a Change in Each
                                                    Scenario in       Assumption           Individual
 Various Payout Scenarios:                            Table 2          in Table 2         Assumption

 Does NNL/NNC make payment on account of
 the Guaranteed Bonds first (y or n)?                    Y                 N               ($286.3M)

 What dollar amount of the NNUK pension
 claims against NNL are dismissed?                     $670M               $0               ($45.5M)

 What amount of PPI attributable to the NNCC
 Notes does NNI pay?                                  $45.8M            $76.3M              ($30.5M)



 What is NNI’s post-petition tax liability?            $133M            $400M              ($266.7M)

 What amount of the $115M amended PBGC
 claims does NNI pay?                                    $0             $115M               ($115M)


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          55.    As demonstrated in this Table 5, as the assumptions begin to move away from those
that maximize surplus cash for NNI, the surplus begins to decrease significantly. In other words,
even if you stretch the outcome of events in favor of NNI such that surplus cash is maximized,
NNI would still have less than the settlement amount of $1.01B with which to pay PPI.

5.3       Comments on the Economics of the Settlement.

          56.    The Proposed Agreement purports to settle the PPI dispute by reducing PPI payable
on account of the Guaranteed Bonds from $1.657B to a maximum of $1.01B, or a decrease of
approximately $647M as a result of the settlement. However, the maximum amount of PPI that the
Bondholders would have received from NNI even absent the settlement would have been
approximately $971M, and most likely less. Therefore, in my opinion, the value of the settlement to
the NNI estate is $0, given that the Bondholders did not concede anything of value when they
“settled” for a decrease in PPI entitlement from $1.657B to $1.01B.

          57.    In the transcript of the telephonic status conference with Judge Kevin Gross, United
States Bankruptcy Judge held on July 24, 2014, the U.S. Debtors (and other aligned parties) make a
number of claims in respect of the value of the settlement, including:

          the settlement “has the benefit of being a quite substantial concession by the
           Bondholders with respect to the potential claim they could be seeking or as importantly
           the distributions that they can take out of the U.S. estate with respect to PPI,” page
           10:20-24.

          the settlement is a really substantial step forward for the U.S. Debtors because of the
           “substantial concessions certainly by the Bondholders of over $600 million of potential
           PPI distributions being taken off the table,” page 14:11-13.

          “our clients have conceded more than $600 million in interest entitlements to get to
           this point,” page 18:22-24.

          “Directionally what has been accomplished here is what the Committee has been
           hoping to see ever since Your Honor made the observation at the end of the allocation
           hearings that between 90 million at the low end and 1.6 billion at the high end is quite
           a range within which a mediator could have a field day,” page 21:4-8.




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        58.     In my opinion:

        the Bondholders did not make a “substantial concession” with respect to the potential
         claim they could be seeking, given that, even under the most favorable outcomes for
         NNI, the Bondholders would not have received the additional $657 of PPI that was
         eliminated in the settlement;

        there was not “over $600 million of potential PPI distributions being taken off the
         table,” given that there would not be enough net assets for NNI to pay that amount of
         PPI anyway;

        the Bondholders could not have “conceded more than $600 million in interest
         entitlements,” given that the value of what was conceded was $0; and

        there was not “1.6 billion at the high end” of the range of potential outcomes, given
         that $971M was the maximum amount of net assets that would be available for
         payment of PPI.


        59.     Given that the maximum amount of net assets available for payment of PPI is $971M,
in my opinion the settlement value of $1.01B for PPI is outside the range of realistic values that
could occur.


6. Restrictions.

        60.    In this report, I focus on the amounts that could be available to NNI for payment of
total PPI, including an economic analysis of the value of the settlement, i.e., the value of the PPI
purported entitlement that was “conceded” by the Bondholders. I do not express any opinion on any
legal issues related to the appropriateness of payment of PPI.

        61.     This concludes the body of my report.




        Paul Wertheim
        Special Consultant
        NERA Economic Consulting




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Appendix A.   C.V.




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                                                                      Special Consultant
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                                  Dr. Paul Wertheim
                                     Special Consultant
Dr. Wertheim’s expertise is in the areas of US and international accounting regulations, financial
reporting requirements, auditing regulations, corporate finance, capital market theory, cost
accounting, and statistical analysis. He provides GAAP, SEC and IFRS analyses for complex
transactions, examinations of financial disclosures, and financial reporting in relation to loss
causation for securities fraud litigations. Dr. Wertheim also conducts cost accounting analyses and
econometric studies for complex litigations and class actions.

Selected consulting activities have included: comparison of US GAAP and IFRS accounting
treatment for a large multinational financial services company in order to determine compliance with
accounting reporting requirements, advised client on matters related to GAAP and SEC reporting
requirements for loan loss estimation and loan loss reserves, detailed cost accounting analysis to
determine cost-of-goods-sold for products provided by a large Canadian retail services company,
determined the adequacy of the financial statement audit performed by a large national public
accounting firm, determined the financial statement impact of alleged fraudulent accounting
transactions, investigated financial statement presentation issues in connection with defense of
public company CEO indicted by the DOJ, performed forensic accounting on the point of origin of
accounting entries, calculated lost revenue/income from breach of contract, performed assessment of
management accounting estimates, analyzed corporate transactions for compliance with GAAP,
performed comparative analysis of corporate financial misstatements, and identified accounting
issues related to financial statement misstatements.

Dr. Wertheim has presented papers at numerous professional accounting and finance conferences
and has authored numerous articles published in a number of leading professional and academic
journals. He is a member of the American Accounting Association, the American Institute of
Certified Public Accountants, the Texas Society of CPAs, the Association of Certified Fraud
Examiners, and the Institute of Management Accountants.

Dr. Wertheim is a Certified Public Accountant, Certified Management Accountant, Certified
Forensic Accountant, Certified Fraud Examiner, and is certified in Financial Management. Dr.
Wertheim has a BBA in Accounting from Texas A&M University, an MBA in Business from
Abilene Christian University, and both an M.S. in Accounting and Ph.D. in Accounting and Finance
from the University of Kansas. He is currently a Special Consultant for National Economic
Research Associates, Inc., and is also a Professor of Accounting at Abilene Christian University,
where he teaches courses in Advanced Auditing, Financial Accounting, Accounting, and Accounting
Research.



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Education.
        University of Kansas
              Ph.D., Accounting and Finance, 1986
              M.S., Accounting, 1987

        University of Manchester, Summer Institute in Business and Management
              Certificate in International Business, 1983

        Abilene Christian University
              MBA, Business and Accounting, 1982

        Texas A&M University
              B.A., Accounting, 1979


Professional Certifications and Activities.

              Certified Public Accountant, CPA
              Certified Management Accountant, CMA
              Certified in Financial Management, CFM
              Certified Fraud Examiner, CFE
              Certified Forensic Accountant, Cr.FA
              Member, American Accounting Association
              Member, American Institute of Certified Public Accountants
              Member, Texas Society of Certified Public Accountants
              Member, Association of Certified Fraud Examiners
              Member, Institute of Management Accountants


Professional Experience.
    2008-present NERA Economic Consulting
            Special Consultant
            Conduct financial investigation, financial accounting, GAAP, SEC, cost accounting,
            and loss causation analyses, auditing, and econometric studies for complex litigations
            and class actions.




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   2005-2008    Berenblut Consulting, Inc.
          Principal
          Business valuation, financial investigation, economic analysis, and SEC and
          accounting regulation compliance for complex claims for the legal and business
          communities and to government.

   2000-present Abilene Christian University
           Professor of Accounting, College of Business Administration
           Teach undergraduate classes in financial accounting and intermediate accounting, and
           graduate classes in advanced auditing and accounting research.

   1994-2000     CMA Review Preparation
          Corporate Instructor
          Taught courses to corporate executives related to preparation for the CMA and CFM
          certification exams. Areas of instruction included all areas covered on the CMA and
          CFM exams. Clients included Los Angeles Dept. of Water and Power and Los
          Angeles Chapters of the Inst. of Management Accountants.

   1993-2000    Pepperdine University
          Professor of Accounting, Division of Business
          Taught undergraduate classes in financial accounting, cost accounting, accounting
          information systems, intermediate accounting, corporate tax, and auditing. Also
          served as Faculty Advisor for the Student Accounting Society.

   1990-1993     East Carolina University
          Assistant Professor of Accounting, Department of Accounting
          Taught undergraduate classes in financial accounting, intermediate accounting,
          financial statement analysis, and advanced accounting. Taught graduate class in
          Accounting Theory.

   1986-1990    Abilene Christian University
          Assistant Professor of Accounting, College of Business Administration
          Taught undergraduate classes in financial accounting, managerial accounting and
          intermediate accounting. Served as faculty sponsor for the Accounting Society.

   1982-1985     University of Kansas
          Instructor, School of Business
          Taught classes in introductory financial and managerial accounting. Also served as
          Graduate Research Advisor and worked on research projects commissioned by the
          Department of Revenue for the State of Kansas.

   1980-1982     Dixon Drilling Company
          Company Controller
          Cost accounting and cost analysis, financial statement preparation, supervision of
          payroll and receivables personnel, coordination with the Parent Company of all inter-
          company transactions, internal auditing, and coordination of activities with external
          auditors.


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Selected Project Experience.
      Advised clients on matters related to various GAAP and IFRS requirements, including:
        Determination of proper accounting treatment under both US GAAP and IFRS
        GAAP and SEC accounting and reporting requirements for estimation of loan loss reserves,
         impairment of related assets, and releases of reserves
        Requirements involved in accounting and reporting for special purpose entities
        Revenue recognition from barter transactions and other nonmonetary transactions
        Direct and indirect guarantees of indebtedness of others
        Contingent liabilities
        Related party transactions
        Application of SFAS 133 as it relates to accounting for and reporting of derivative/hedging
         activities
        Analyzing the “judgment” allowed in both the general and specific application of accounting
         principles
        Revenue recognition criteria for deferred revenue transactions
        General revenue recognition criteria

      Determined the financial statement impact of alleged fraudulent accounting transactions

      Investigated financial statement presentation issues in connection with defense of public company CEO
       indicted by the DOJ

      Performed forensic accounting on the point of origin of accounting entries

      Calculated lost revenue/income from breach of contract

      Assessment of management accounting estimates

      Analyzed transaction accounting for compliance with US GAAP and IFRS

      Performed comparative analysis of corporate financial misstatements

      Identified accounting issues related to financial statement misstatements

      Performed restatement of financial statements subject to accounting errors

      Performed cost accounting analysis to determine average costs of services for a retail financial services
       company

      Examined management reliance on external accounting guidance and internal controls

      Assisted counsel with witness depositions on topics involving auditing and accounting




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Publications.
Journal Articles:

“The Effect of Multiple Directorships on a Board of Directors’ Corporate Governance
      Effectiveness.” International Journal of Corporate Governance, (2013).

“Evidence on the Effect of Financial Distress on Type II Audit Errors,” Journal of Applied Business
      Research, (2011).

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       Corporation, on behalf of Ernst & Young, Inc., Superior Court of Justice, Ontario, Canada,
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       BioSystems, LLC, on behalf of Nordion, Inc., Superior Court of Justice, Ontario, Canada,
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Appendix B.   Materials Relied Upon




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APPENDIX B – MATERIALS RELIED UPON

Below is a list of documents I have relied upon for the purpose of preparing this report.

1.   Debtor’s Motion for Entry of an Order Pursuant to Bankruptcy Rule 9019 Approving Settlement
     Agreement by and Among Nortel Networks Inc., the Supporting Bondholders, and the Bank of
     New York Mellon with Respect to the NNI Post Petition Interest Dispute and Related Issues.

2.   Preliminary Objection and Motion of the Monitor and the Canadian Debtors for an Adjournment
     of the Objection Deadline Concerning the U.S. Debtor’s 9019 Motion and for Expedited
     Discovery.

3.   U.S. Debtors’ Objection to the Motion of the Monitor and the Canadian Debtors for an
     Adjournment of the Objection Deadline Concerning the U.S. Debtors’ 9019 Motion and for
     Expedited Discovery.

4.   Memorandum of Law of the Official Committee of Unsecured Creditors Regarding Entitlement
     of U.S. Creditors to PPI.

5.   Notice Pursuant to Section 12(d) of the Cross-Border Protocol of Filing of the Canadian Court’s
     Endorsement Regarding Certain PPI Issues.

6.   Debtors’ Request for Production of Documents Directed to the Monitors and the Canadian
     Debtors.

7.   Order Establishing Discovery Schedule and Other Procedures in Connection with the U.S.
     Debtors’ 9019 Motion.

8.   Opening Brief of the Monitor and the Canadian Debtors Regarding PPI and Related Issues.

9.   Thirty-Fifth Report of the Monitor, dated January 28, 2010.

10. Supplement to the Thirty-Fifth Report of the Monitor, dated January 21, 2010.

11. One Hundred and Fourth Report of the Monitor, dated March 14, 2014.

12. One Hundred and Eighth Report of the Monitor, dated September 24, 2014.

13. Nortel Networks Corporation, Form 10-Q, for the Quarterly Period Ended June 30, 2012.

14. Deposition of John Ray, September 15, 2014.

15. Deposition of Michael Katzenstein, September 18, 2014.

16. Expert Report of Jeffrey H. Kinrich, dated January 24, 2014.

17. Expert Report on Valuation and Other Issues Related to the Allocation of Sales Proceeds to the
    Nortel Debtors Group, Report of Thomas Britven, dated January 24, 2014.

18. Allocation of Sales Proceeds to the Nortel Debtor Groups, Rebuttal Report of Thomas Britven,
    dated February 28, 2014.
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19. Demonstrative of Thomas Britven, dated June 5, 2014.

20. Excel Spreadsheet titled “Cash Summary,” dated September 12, 2014, Bates-stamped NNC-
    NNL-PPI-000001.

21. Transcript of Telephonic Proceedings Before the Honorable Judge Kevin Gross, United States
    Bankruptcy Judge, dated July 24, 2014.

22. Monthly Operating Report No. 51, Nortel Networks Inc. et al, filed June 17, 2013.

23. Monthly Operating Report No. 52, Nortel Networks Inc. et al, filed August 12, 2013.

24. Monthly Operating Report No. 53, Nortel Networks Inc. et al, filed September 25, 2013.

25. Monthly Operating Report No. 54, Nortel Networks Inc. et al, filed October 24, 2013.

26. Monthly Operating Report No. 55, Nortel Networks Inc. et al, filed January 7, 2014.

27. Monthly Operating Report No. 56, Nortel Networks Inc. et al, filed February 21, 2014.

28. Monthly Operating Report No. 57, Nortel Networks Inc. et al, filed March 3, 2014.

29. Monthly Operating Report No. 58, Nortel Networks Inc. et al, filed March 24, 2014.

30. Monthly Operating Report No. 59, Nortel Networks Inc. et al, filed April 4, 2014.

31. Monthly Operating Report No. 60, Nortel Networks Inc. et al, filed April 30, 2014.

32. Transcript for Day 1 of the Proceedings of the Nortel Trial, dated May 12, 2014.

33. Transcript for Day 14 of the Proceedings of the Nortel Trial, dated June 6, 2014.

34. Transcript for Day 22 of the Proceedings of the Nortel Trial, dated September 22, 2014.

35. Transcript for Day 23 of the Proceedings of the Nortel Trial, dated September 23, 2014.

36. Transcript for Day 24 of the Proceedings of the Nortel Trial, dated September 24, 2014.

37. Documents Produced by Cleary Gottlieb Steen & Hamilton LLP in Response to a Request for
    Documents Concerning the U.S. Debtor’s Proposed Settlement Agreement Relating to the
    Bondholder PPI Issues, Bates-stamped NNI-PPI-00000001 to NNI-PPI-00002097.

38. Documents Produced by Milbank, Tweed, Hadley & McCloy LLP in Response to a Request for
    Documents Concerning the U.S. Debtor’s Proposed Settlement Agreement Relating to the
    Bondholder PPI Issues, Bates-stamped BHG-PPI-0000001 to BHG-PPI-0000253.

39. Sixty-Seventh Interim Application of Cleary Gottlieb Steen & Hamilton LLP, as Attorneys for
    Debtors and Debtors-in-Possession, for Allowance of Interim Compensation and for Interim
    Reimbursement of all Actual and Necessary Expenses Incurred for the Period July 1, 2014
    through July 31, 2014, filed August 28, 2014.

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40. Proof of Claim #8761 filed by the Pension Benefit Guaranty Corporation on July 7, 2014,
    amending Proof of Claim #4736, on September 29, 2009.

41. Proof of Claim #8762 filed by the Pension Benefit Guaranty Corporation on July 7, 2014,
    amending Proof of Claim #4737, on September 29, 2009.

42. Proof of Claim #8763 filed by the Pension Benefit Guaranty Corporation on July 7, 2014,
    amending Proof of Claim #4735, on September 29, 2009.

43. Proof of Claim #8760 filed by the Pension Benefit Guaranty Corporation on July 7, 2014,
    amending Proof of Claim #4738, filed on September 29, 2009.

44. Statement of Solus Alternative Asset Management LP and Macquarie Capital (USA) Inc., filed
    August 29, 2014.




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